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                         UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


 IN RE:

 JUAN C COLON PAGAN, SR                                  CASE NO.: 6:18-bk-02313-ABB
                                                         CHAPTER: 13
 NILSA I COSTALES MARRERO

      Debtor.
__________________________/


                            OBJECTION TO CHAPTER 13 PLAN

       LakeView Loan Servicing, LLC, (“Creditor”), by and through the undersigned counsel,
hereby files this objection to the Chapter 13 Plan (“Plan”) [DE # 2] and in support, respectfully
states the following:


   1) Creditor holds a lien on the following property: 2767 East Lake Road, Kissimmee, FL
       34744 (the “Subject Property”) (Loan No. 8878)
   2) Creditor intends to file a timely a Proof of Claim (“Claim”). Creditor anticipates filing a
       secured claim in the amount of approximately $138,629.67, a total secured arrearage in the
       amount of $14,454.59, and an ongoing post-petition payment of $933.12.
   3) As Creditor’s Claim is secured by the Debtor’s principal residence, Creditor objects to any
       modification of the terms of its mortgage loan pursuant to 11 U.S.C. § 1322(b)(2).
   4) The Proof of Claim (“POC”) Bar is set for July 2, 2018.
   5) A creditor does not lose its standing as a party in interest to object to confirmation of a
       bankruptcy plan simply because it failed to timely file a proof of claim. In re Belser, 534
       B.R. 228, 230 (2015 Bankr. LEXIS 2645). Whether an entity has a timely filed claim or
       not does not change its creditor status within the meaning of the Bankruptcy Code. Id at
       237. An unfiled or tardily filed claim still carries with it a contingent right to payment that
       is extinguished only upon the issuance of a discharge. Id. Until and unless that discharge




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     issued to the bankruptcy debtor, any entity with such contingent right to payment is entitled
     to the full universe of protections awarded to a creditor under the Bankruptcy Code. Id.
  6) The informal proof of claim doctrine is an equitable doctrine in bankruptcy that rescues
     creditors from untimeliness and permits bankruptcy courts to treat a creditor's late formal
     claim as an amendment to a timely informal claim. Id at 238. The doctrine is intended to
     alleviate problems with form over substance where a creditor has failed to adhere to the
     strict formalities of the Bankruptcy Code, but has made filings that put all parties on
     sufficient notice that a claim is asserted by a particular creditor. Id.
  7) The above stated figures (in Paragraph #2) are good faith estimates by the Creditor in
     connection to the Debtor’s indebtedness to the Creditor; and, in addition to Creditor’s
     opposition to the Plan, this Objection shall also serve as an informal proof of claim for the
     Creditor (notwithstanding that the bar date has not yet passed).
  8) The Plan proposes Mortgage Modification Mediation (“MMM”) with respect to Creditor’s
     claim. Pursuant to 11 U.S.C. § 1322(b)(2), the terms of the original note and mortgage shall
     remain in full force and effect unless and until the Creditor and Debtor mutually agree to a
     loan modification.
  9) The Plan proposes adequate protection in the amount of $930.25 per month.
  10) While the proposed adequate protection figure complies with the 31% of gross monthly
     income requirement; Chapter 13 plans are subject to unlimited amendments, and the
     Creditor objects to any subsequent plan (prior to confirmation) that proposes a figure below
     the 31% monthly income requirement.
  11) Furthermore, the Debtor has not filed an MMM Motion. As a result, the Creditor is not
     officially referred to the MMM Program. The Debtor must file the appropriate pleadings
     before the court, to coincide to the proposed plan treatment.
  12) Finally, as stated the MMM Process has not materialized as yet. As such, Creditor also
     files this Objection to preserve its rights in regards to a plan that does not conform to a
     timely filed Proof of Claim by the Creditor.
  13) Creditor’s address for acceptance of payment is; LoanCare, LLC, P.O. Box 10809,
     Austin, TX. 78766.
  14) Creditor objects to the proposed Plan treatment.
  15) Creditor’s claim should be treated as fully-secured until ordered otherwise by the Court.

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   16) Creditor reserves the right to amend this Objection.


       WHEREFORE, LakeView Loan Servicing, LLC, respectfully requests that this
Honorable Court sustain the objection and deny confirmation of the Plan.



                                                            /s/ Ella Roberts
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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 4th day of June, 2018, I served a copy of the foregoing
on the parties listed below.

SERVICE LIST

Juan C Colon Pagan, Sr.
2767 E. Lake Road
Kissimmee, FL 34744

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